ey

a
jie

Bd plies to
oe

sete

December 3, 1992

THE COURT: ALL right. We Wil}
reconvene with Fegard to séavé
of Indiana versus. Wilhiam B.~
Barnhouse. State of tad¥ans

is present by jeffrey Arnota

and we'll show €hat Willian

 

E. Barnhouse appears in “péreén’
and by “hils ‘counset, ack, Q

We are here on a Motion’
press. “This id. cause number,
18002+9204-Criminal Felony:'46. - "|
Mr. Quirk? . .

MR. QUIRK: Yes, Judge, Yess
terday about -4:00°L found;out
that a membéer.of pur Taw ti ms
Lonna Quirk Hunter, ie represént-
ing. the: victim-dnithis.¢ase
in’d case in City ‘court and”
she's--.

THE COURT: She's ‘tépresénting:

the victim of this case? 18

 

= DEFENDANT:

 

 

A ipeticetl
Spe

pee pae RECS Se a eeat a
A
a NSO are

#1
BN
ee aren ely mates Cars a

 
a eagtiae ae,

cs a i
at “af 2 4
Reet are

Rates.

thie in a case that ‘covers. ‘thi
same subject?

MR. QUIRK: Doesn't ‘have any-
thing to do with it. It's: Batri-
cia Lasley, tt's the victim.
and she's-~-.,

THE COURT: And skel's simply.
representing-=+?

MR. QUIRK: The: defeudant

a cause of actio ‘in, City Court
THE COURT: Wheré tHe State’

of Indiana:o% City af Mundie

may be charging a traffic offense

 

or something--?

MR. QUIRK: It's 8 D.U.Ts, driv
ing under the influence. |
THE COURT: So, it’ has “avsovutelyt.
nothing todo with this “{
MR. QUIRK:- No, the Eagts
except that I've talkediwitn, ”

Mr’ Barnhouge-and; and teas

 

 

 

 
Tek
ee

concerned that our law firm
represents himself, plus the

victim and I think that. i

 

that if Mr. Barhhouse is “con-
Victed, I think that would Lay.
he

Tait

: 4 on :
a. good foundation’ for a-reversa

and. we would aisk:.at this.iti

to allow..me to. wilt |

appoint ‘another attorney for

‘Mr. Barnhouse,.

TRE COURT: our problem

point is this matter has been,

set for trial andvis ‘seheduiei
‘trial on, Decembae:

fy Gf I'm correct?

 

MR.» ARNOLD: . ‘That “corvéet’,

Judge. .

THE COURT: ConsequentTyy”

less than two ‘weeks away. We

 

 

 

 

 
 

 

 

on the Motion to Suppress. Mre. |
Barnhouse’, I see’ no conflict —
as far as Mi. Quirk ie concerned |
in this ‘particular dase, Xe a
doesn't-- The only thing ‘that
happens to be the!sane is the
Berson who is-Alleged as! victi
here happens” to bé represented
by Mrs. Bunter. who happens: to

be in Mer. Quirk's,; a member,
Spe

of Mr. Quitk.'s ‘fixm,’ as ‘a"de-

fendant: in -an action. brought,

by the State of Indiana:

her, a4 completely differant

fact. situation, . Weré~thi's the. .

t situation or wey
Mr. Quirk or were Mrs. Hunter
representing the: alleged:
in this case with egard?£5
an action ageing’ you, then

‘most, most assuredly it,

 

 
 

 

conflict. -Z see né eontiied
‘with regard’ to trial of this
‘cause and. I chink “it's imporeant
that we do proceed. Obviously:
we have’ the: listdon to. Suppress 5

We will proceed to thar’ he ring

today. If you disagree with

me, Mt, Barnhouse,: we would
endeavor t6 get éounse

counsel less than two. weeks

to trial} I know of ao. attorney:
who would. take on a case th

a situation like this where
ae rr

you've, gdt:a short, time’ ‘before:
trial'.and you've got rather
serious charges involved:

proceed with thé: Motitn:to. su
fen. bo. Su

press. AlI ‘thoge who- know
selves to be witnesse;
raise your right

and each-of you ‘30!

 

 
 

 

under penalty for perjury that
the testimony you're about to

give will be truth and if go,

anawes rode?

REPLY 3 L do.

THE couar: Al

MR. QUIRK:

ation lof Witnesses:

THE. COURT: Alilright, There “|.

be Motion-.for Separat
Witnesses
granted. Counsel ‘fot each;

for:State and defendant: are.

4 v ro

talk among. this ‘case, ationg
thenselves, abot this

among ‘themselves of i anyone |
else. ‘They're not, to appear o
in Court except separatet} )

then to give testimony.-. The

 

 

 

 

 

 

 
 

 

not to communicate the natuee

of their testimony in tie’ court:

room.

MR.- ARNOLD: Judge, T thinks,
Ith a little confused

on the mechanics: of this. |

chink it's: the burden of ‘the:

State to 'show that there

‘but I think it's ‘the ‘Bur
of the defendant. o move

on it first,

entire burden: to ‘go: forward.
and-~-..

THE COURT:" Where) thére!s

an. allegation of. Motion:

press 1 think there Was

 

 

 
 

 

-MR. ARNOLD? O.K. I'd ask the’ |

Court, then, to:first to take.

ery filed by the’ Stare din May:
the 7th of 1993. ai

be in the Court

was a’ verified worién for ain.
Order ‘to Produce, ha 5
saliva; on May" 7th, 1992.

Court then had an Order to Pro-
duce con May 7th Of. 1992 after

a hearing, 6. ahead,

MR. QUIRK: well, waite min
Before we==. “Aré you ‘going

to address that uly"right Aow?
MR: ARNOLD: No.

MR, QUIRK: OK. Are ‘yo

you. finished witli that: pace’

of it?

\ceeenion
Rae oo a 4
ie oA

 

 

 

bs acu Leech Si
Pai garter ne
a i eh
Gi. 8

 
“MR. ARNOLD: Well, I, I brin
that up, Judge; because I'm
wondering if defense counsel:

hasn't oyerlooken, overlooked

: +

the dates on these- ‘In “his
Motion to Suppress, he states

‘that there was blood samplés

were taker on your authority

‘on the Order: to ‘P¥oduée:

days. aft’

to Suppress says that. there’

was.no search warrant. There:

was no Order--.

 

 

 

 

 

 
MR. ARNOLD:

There's case

Judge. Ina fact, we doa”
have boxe. The ‘Order to Préduce, -
we didn't vain’ have to have
that. Ita cite Keller.
Marion County. ‘That's at”.
Northeast Second, 433.

a 1974 case. The

defendant was subject to tie
following rules of Discov

and among other: things i
. . ve SY

of his body which “involved ‘na

unreasonable intrusi

They tite the Sup¥eme. Court

eases in; th
. i ocd
on to say when’ We con

it is well established.

 

 

 

 
Ponies Ateaet : a a Roe
Ff opot es ae CARERS Ate ET
a Uitte Rs : 1 Pmt epee EE el ae

er Ares a A
ease Tecra ae

fingerprint the defendant, to
photograph him, to examine ‘him , ‘
physically, to take samples: :
of blood, hair and other Like
materials from his body ax

to secure samples of his Rand.
writing, it'd scarcély be -atgiea
that to ask for a List’ of wvit-
nesses he expects. té producé

at trial as an’ invauion’ of”
Constitutional right against.
self~inerimination.

THE COURT: Be the position
“of the Gourt thatthe State.
having obtained the information
obtained the hair anid: Blood’

4

samples, obtained th'e Same pur® ©

Suant toi an-ordet-‘o
and I think they've met thei:
burdén, Now if you wish to

£0 forward+-?

a, a

on

Soe ee

ene

 

 

 

oe 2
Oe :
z a

 
 

 

MR. ARNOLD: I'd just note for
the record, Judge, that :that
was again. upheld iii Held vérsus’ |?
State in 1986 undéy 492 Noreh-
east: Second, 67.) |
THE COUR: Ts chere- any other
evidence the defendant wishés
to offer at this’ time?

MR.. QUIRK: Judge»!

already overruled thé “motis
THE COURT: All right.

MR. ARNOLD: Befote I put-~.
THE COURT: Motion bo Suppress,
then, be denied.
MR. ARNOLD: . Beford I put. ievid: ive
on, chen, tooy 7 Th

juse make a short-~.

THE COURT: Do youlwish, £¢ pre-.

sent further evideiee “then?..

Be the position of the Céurt-~.-

 

 
 

 

Judge, on this second Motion.
to Suppress.

THE COURT: Oh, I'm sorry. Ku
right, That's with vegard to

Motion to Suppress ‘number: 6

has been denied. You, may “proceed:

MR. ARNOLD: The second Motion
to Suppress .says that: agents’

of the State were allowed, allow

defendant by himself
out any ‘benefit of any..safe-
guard and they're reqi

that all’ testimony vegarding

identification shoul ibe @x-=-

pre-trial identification was.
tainted by the ageatssof the

State. Again, I, ther

long- line of: casés and I'm going.

to’ cite a couple’ of those; Judge.

 

 
State, 563 Northeast Second,

565 and all these cases deal _

fairly quickly after the ec dine.
_occurred, they take the victim:
and display the alleged defend~

. . foo.
ant to the victim for identifi-"
cation purposes: . In-Olsén,

they say chat while ione on
confrontations are inleredtly
suggestive, such confrontations. :

are not say, not pert se improper

Citing Hill versus State, 1982,. |

442:Northeast Second, 10493 —

it says that confrontations

for. it is valuable. ‘to. have’ the “,

witness view a suspect while”

 

 

 

 
FX

the image of the perpetrator
is fresh in the witness's mind.” }.

Indeed, the immediacy of'the

incident substantially: diminish®

es the: potential for nisidet
cation. In determining whethe)
a particular show up is unduly .
Suggestive’, the factors to:be
considered’ include tiie’ leagek
of the initial observation of
the défendant by the. .
identifying him, lighting. condi
tions, distance between the.
witness and the defendaiity th

witness 8 Capacity for obsetva~#

in

“Ate

witness's initial. and actual,”

aide!

description and any, identif ca

 

 

 

 
 

 

appellant prior to the robbery
and Faced appellant throughoue
the robbery, It was a clear
and sunny day. The identi
‘tion accurred within the

after the robbery and ‘occured.
within minutes of notifying |
the police, Réed''s identifica |

tion also was’ accurate inndés--

no error ‘in allowing: Reed ‘te

identify appellant: There!

suggest that, that that,

fact, is’ very Propér because —
the, the ‘Lime Limit . |
for the pe¥son tao identity, iat”
without misidentification if

you do it quickly enoughs. “toul's
versus, State, 554 Northeast

Second, 1133, a Supreme ‘Cou

16

 

 
 

 

decision in 1990, based. onthe
same thing where the--, There
was an alleged burglary. The
person who owned a house went
outside, saw the defendant’ jurip '
ina truck and drive away... “He:
tried to follow ‘him. He was
unable to catch’ him. In-a very.
short time, based upon his des~—
cription. of the ‘tiuek and the
license plate, deputies had’
pulled that truck over. ‘They
then called him ani ight

him to where they chad,

defendant, said that ‘the: victta
stopped his cax behind the de-
“puty's car. whichiwas behind

-Ehe othex: car.

out and spoke.to the -two' ‘peopte -'|

in the car, The: defendant’: who

deputies had learned was. the

 

 
 

 

owner of..the truck. and the de-
fendant's mother. The depucy

then walked back and asked if

the victim could see the people |)

in the car. The victim ‘said’.

that the one on the right could.

be the man who had. been in his

! t

the person had long hair,

os

he couldn't see:

man who had been

approximately two and oneshalf |

hours earlier? The Court found. |

no problem there. ‘Theres Les-
Lie versus State, 558°Northedat

Second, 813; dnother Supreme. -

 

 

eS

 
 

 

Cee

at vi

6

the same fact situation. There's

a tong line of Gases, that’ say
this, that that's not improper.
What we have inthis. case is

that within’minutes afted ‘the
rape was reported, police offiéed

stopped the defendafit- oi a bi-~

cycle. Very quickly ‘ther they: .

took the defendant or they-Teft

the defendant there. they’ put

the ¥ictim in a-police vat.

She, was brought: to where!they ‘jf
stopped the “defendan

his ‘bicycle. Tt was a lighte

area. They took, flasti

put their lights on’ the, defendant: .

She stayed in the police ear
and identified. the defeddant |
as the person: who‘had

her. Phat's the fact -¢ tua

that we have here and 1'!

 

 

Ineors i

nee te

 

 

 

 
 

 

to puct on evidence’ to that if
it's necessary, Judge.

THE COURT: You may précéed.
MR. ARNOLD: O.K. Go ahead
and call Fonda King.

THE couRr: Raise: your right’.

hand. “Do you solemnly aff

under penalty for perjury that

the testimony you-are. about
to give. will be. truth’ and
so; answer I
MS.":RING: 1

> after first being duly ‘sworn to’ t Tie
truth,’ the whole truth and 4
but the truth wis exawthed: &
testified as follows:

“DIRECT EXAMINATION

QUESTIONS BY JEFFREY ARNOLD, ESQ:3

wall. the Judge your name..

‘Fonda King.

‘Fonda, how are you employed?

 

 

 

 

 

 
 

 

I'm Sergeant with the Muncie Police Depactment,
Were you so employed on April 2ist of 19927

I was a patrolman, Muncie Police Department.

And what shift did you work?

Midnights, eleven to seven.

O.K. YThat evening or in the early, morning Hours
you get a call to assist on a tape |

Yes, I did.

Do You know what time you received that call?
Ido-not know the exact time. tr know ny iéxacet

time, Ehough. It was 4:23.

O.K. And what did you find--? Where did you go? You

Say your exact arrival time.

I went to the Village Pantry at: Council dnd Jackson.
And- once you got. there, what did you observe?

The victim was standing there, and rt talked. to. hex’
ana her name is?

‘Patricia Lasley.

What did she tell you?

She -told rie she had been rapéd.

O.K. Did she describe the assailage?

 

 

 

 

 

 
 

 

Yes.
How did she deseribe him?
He Was a white male, five foot wine to five foo!

thin built, Had. long; dark brown shoulder Length hate,
had a mustache and an underbite, was wearing a.
Sweatshirc and light blue jeans’ and wag riding “a
which the handlebars curved. back. towaid.
O:K. Did you put that out over*the “Eadie” and vo.

the lookout?
Yes, 1 did,
Did you do that immediately?

Nes. |

Did you subsequently, then; get a, a. calif that .they. ted
stopped Someone matching that description?
“Yes, I did.

How long after you put the 3.0.1, out did. ‘you get

@all that they | had stopped someone macehing

nh

weit, long enough after I puc, the: B. 0. L, gue she. victim

 

 

 

 

 
 

 

been?

Oh, no longer than five minutes.

No longer than five minutes? 0O.K,
I took her, the victim, I dveve: her
where they had this person stopped.

“O.K. And once you got there, what happetied?

sy

She looked at him and shé identified himas being’ the

person: who had raped her and #as very.’

O.K. And wheré was the defendant?

He ‘was standing on the sidewalk at‘on m=. S Sh,»
standing. I pulled up headed north and

of Wise's, just barely south of*Waid and. he. was’
there beside the bicycle on either ‘the roadway: oF the
sidewalk, right in that vicinity.

What were the: lighting conditions?.

“There was outdoor lighting, .ydu’ Know, stvéer Lights “and -

such, plus the officers had. flashlights.

‘And did they have the flashlights on?

Yes.

 

 

 

 

 

 

 

 
 

 

Where were they pointed?

Well, when, when we pulled up, she became frightened and

she was afraid he would see her. and.T told hex naw:
Worry, that they would shine the ‘elashlighte.. :

S0 she could see him and he wouldn't be able to bee hier
O.Ki Did they do that?

Yes.

They had their flashlights in his face?

Well, Shinittg to where that she could:-seé his: face.
O.K. And, again; if, I'w sorry” 6 i've ‘liskeaS but how
far away Were you from the detendant?

I would say about as far as we “re, you and T, or Waybe
the. door. ;
ALL right, Shé ‘identified -him ‘and did’ she-a1so-
the bicycle at that time?

Yes. |

What did you do after that?

r took, the victim to the crime Scenes

Sana’ fo the best of your recollection; this was five

ten: minutes after, you had put this ‘be on:

Yes,:it-+,

 

 

 

 

 

 
 

 

a.
A.

“So, i went ahead and--. I wanted. to, ‘at: exact Location.

T realized I needed to locate the crime scénd. and: I knew:

it would take a while before we got’ through at the hosp tall.

.Of the crime scene.

So; that's where I took her to locate the--,

“Where did you take her? Where was the crime ‘scene?

‘of the road behind a vacant building.
And. what, what was the lighting conditions there?

“Um-~.

Out?
Yes,

All right.

You say you took the victim to the crime scene or to: the!

hospital?

It is in the 900 block of West Jackson:-on' tha .sduths

Da you remember?

 

 
 

 

No, I don't recall.

Now isn't it a fact it was dark in an alley?

AY Well, it's not an alley. There's a sidewalk I'd say ape |”

proximately three feet wide behind the building and’ th
“de drops off to, I don't know, four to six. feet and ‘the
“kind of a gully down in there.

.Uh huh, but it was not lit, is-that. correct?

“Ax Right.

O.K. Now she deseribed this, thisjindividual--?. Pardon.

hes You said this happened in the ‘900 block! of- West Jack=

Son and this individual was stopped where, again? How!
far away was- it?
As I'd say approximately two to three miles. tts, let's

see, nine blocks to Walnut and then up Walnut to. whatey r

‘hundred block Wise's is in which. would be -approx-~:

“ ee

-: not ‘certain, say twenty-two or twenty-three. So--.
th huh:. -And that'd be: more like about five.
Metis see. Ta, there's sixteen blocks toa mile
Let's see. ‘Ning and twenty-three gr Soy twenty-three; :,

éhirty, about:-two miles.

aera oaral

Pitas
eee

 

Pen caa reeset tates :

reaay

 
individual?
Yes, I did.
And what did he-~? What was he wearing? Do you. -havé:
By, by--. Let me rephrase that. Do you have the clothes: |
that he was wearing? |
Ne, I don'e.
Does, does somebody in the police ‘department have those?.
“To my knowledge, ao.
O.K, Isn't it a fact that he was wearing a, a black T=
shirt?
I don't recall. I do recall he had on a. jagket ‘over hits
other clothing,
O.K. Do you have your police repért there?’

Yes.

Can you open it up and look at that page that looks! Like

this? Do you have it? Does your.‘name appear on thee?
Yes. | |

on, on the same thing you're lookinig'ar?

Yes.

Looking at the, on the number forty-three-+:

Yes,

 

 

 

 
setgresamsict
ahs ;

ee

ike
WA

said suspect, William E, Barnhouse?

And then on number forty-seven, the description that was
given; what is that description?

Bs This description says white male, sik Foot one, one. niite
seven, brown and hazel, brown hair, hazel eyes and a. black
T-shirt, blue jacket and blue jeans.

“ All yight. Now the description that this. lady gave #
Was is that she, he, this person that raped her was about
‘tive foot nine or ten, ig that correct?
As Yes.
. ‘And algo tEhin, is that correct?
L¥es: ;
’ “the reason that William Barnhouse was stopped was Because

‘of this deseription, is that correct?

time that you saw him, did: he. match the dese--?"

five foot nine or ten?
taller than that, but--.

was much heavier,

 

 

 

 
“tt say medium, but--,
He also did not have on a gtay sweatshirt, ia that ¢ighe?.
I, I believe thar--. 7 don't recall,
O.K

T remember the btuge jacket.

Weil, the report, the report that was. made, though; stated}

that he had a black T~shirt on and blue- jacket add blue
‘jeans and che description that she gave. you yas a gray
shirt and light colored jeans,: ig that corredt? |
Yess.
“Ook:
May I say something?
Well, probably not, Let somebody ask’ you.
0.
“Whedever you took this lady up. £0 there, ag-s00n -as, you
approached thé. scene, ‘did she expect“? What, what dia,
you ell her that--? Where did you tell her you, were: |
taking he r?. . | | |

here thac.-

29.

 

 

 

 
 

that she was going to go look
police thought was the person
correct?
Yes.
“And then when she approached that scene, ‘g
‘she became afraid, is that’ correct?
When she saw him she became afraid,
Onk. When she approached it and. saw ity. she: became “wery
afraid, is that right?
Wham sha saw him, yes.
“Ata then. she. said that's the one, that’s the.man, is: that
‘correct? .
Yes.

MR. QUIRK: I think’ thacitis

REDIRECT EXAMINATION

‘LovestzoNs BY JEFFREY ARNOLD, ESQ.:
ava’ once she got there she not only:identified himy wud
she ideneified the bicycle?
Yes! |
| MR. ARNOLD: Nothing: dither, -

“ATL fighe’

 

 

 
 

ch:
ce
in
iption

‘Gases’
ing’)

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The
five Wine

that
hat.the; -

di

in
be grantec

Go ‘ahead.

© svidente and
takes placé

At:

ive eig

is t

f have no other

L&

Well,
The reason bé

ALL righe

First of -all

ARNOLD
ion
QUIRK: .

QUIRK
that the ‘State's own eVvidat

first of all, he doesn't? mat
that was given‘was a-pe

evidence, Judge.
reason being

the description.
I'm sorry.

our mot
a ddrk area and ‘the deac

we would ask ‘that this,.

Judge; we. haven
may proceed,
would have a des
an. event that

ct
=
oO
-
~
a
cn
aay
ca]
a
0
&

MR,
THE COURT
who was £

MR,
MR,
is

 

 

 
or five ten, thin built, had
a li-, light gray sweatshirt
on or a gray sweatshirt, parac
me, and’ light colored jeans
She then, that’ deseription is

taken; is placed over the radio”

 

and, and some four
later, they've got an individual

stopped across town.and the.

over to look at an inaividadi
who the police thinl! is che:

person who-raped hes because

he matches thé degeripti

in fact, he didn’t matéeh the

description. The. description
given to the, to the. police -.
wasn't six foot one ‘or, over.

six foot, a hundred and ninety=

seven pound person. who. wag in.

dark, she said a.dark Levi jacked,

 

 

 

a
ee "y 4 r
t TL Eee
ce a io fe Ht
ae fi Ue Poe ane

 
a black shirt and dark ‘Levis’.
I think the mere fact that he
doesn't match the description, |
the mere fact that whenever
she went there ghe -expectéd
to see the individual who “had
raped her and the ‘fact that
when she got there; the 1igit~ |
ing conditions were much diese
than what ‘she was seeing. Ti
fact, she had saw iio ‘police-
men Holding “a flaghlight in

an individual’s face. Whovel sé
was she going to identify? the
two polideeny one oi those
two policemen? Doesn't idtch
the description, she expected.
to see the person who taped |

her and when she: got’ theres

she said he's the man and that's:

why this was totally. guggéstiy

 

 

 

Bore
a
SRA eee At

 
a

a pip An
Peres
By wire:

 

 

necessary to have
this type of a show up and ie
should be suppredsed from evi+

dence.

Eo argue that she: wae mistaken’
in. her identification, agai 7
that's weight. We have’
situation Were that's idéntié
to the cases ‘that :

you.

THE, COURT: The issue that

to my. mind is. one onthe bas

for determination’ of whether

alleged: victim had to séé

the defendant: and whether,

34

 

 

 

 

 
 

 

 

had a sufficient time to‘ identi
him independently. At thi
particular point, "the, she's

made an identification of a a

bicycle, She's “made an identi fi-

cation of ‘a; of the defendant,

Is there: any particular ‘reagon':

the victim is not here?

MR» ARNOLD: No, Iodida’t think

I needed: her, Judge, ret
Theses-. It-isn't thac
has to identify"him agains tet
the procedure “tha )
about here on the
Suppress. I had ‘the polige .
officer testify as te procedud
I had the police. o£ ficer tes tiey
that she ‘had identified him.
We're talking procedural! e¢han
ies Of: the: show-up. 1 diakie

think I needed’ her, Judge; and: ~

35

 

 

Sa eee
Satta
aes

 

 

 

 

ars

 
 

 

L otill don‘c. the, these ease’
talk about the quicker that

te, that thaé happens, that,
show up, the better it is;
bocause of the possibility™6

of, that there's no’ nisidéici#i=

cation, This happened’ véiry

and actually happened mach ‘quic

ar than these cases that

officer and this id absolutely:
permissible under*these Supreme:

Court ‘cases.

ing. goes to the weight; |

If he wants. to ‘argue. tha

a closing or, ot-tross ie
tion, I think that's fine, Bu

it doesn't go to the-vadmig:

 

 

 

 
of it, Your Honor...

MR. QUIRK: Well, obviously.

when we're babking’

about weight, we're talking

about whether or not this’ was

 

not tainted by the

Indiana or thé agents: dna

 

buc this isn't. something.
the Court can just” say, well,

it doesnit really.matter if:

. rn ee
not because that: just goes “té
the weight of -the evidence -at

that's: hot the Law.

 

 

 

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- SORTA
Fee Wane ;

 
guy was stopped on ‘the ot.

side of town, he was stoppe

He does not match the deserip-
tion. He'was stopped ‘and’ wign-
ever she was taken ‘thera

da

ed area: She’ saw him with’ his,
vith ews ; fu
in his face.. ‘Theres abso

ly no: way that’ éhe would have.
not said ithat.’s the persons

THE COURT: the indication; ft

the testimony is that this dia
occur shortly after the aliegéd..
incident, occurred: within a}
a smail distance, a couple
miles ‘of the- alleged ‘crime
The police comment ‘wae’ ‘no,
such’ as we have the person’

committed the offense.

OOLS'?

 

 

 

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Buhl
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a person who may be or-

be, Consequently I'll find that
at this particular time that
there's not sufficient evidend
here that this. is an
suggestive, does not

an unduly suggestive ix
Line-up. - The procedure gegere
is not sufficient ‘to in:'

of itself taint beyond ‘x

the testimony of the alleged
victim, Conséquentlyy, thé
to Suppress: bé denied.
MR. ARNOLD: | Thank. you, Ju ze.
THE COURT: All righ j

This is the State-of indiana:
versus William: Barnhou'se,
number 18D02-920%-Grimin, 1

46. Show Mr. .Barnhouse: ;

in person. Show Mr. -Barniva

counsel,’

 

 
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Rees
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Show also present, Mr, Araold,
for the Stata of. Indiana.’ Mr..
Barnhouse, I had talked: to; you
earlier dbout this. situ :
cand I want, I warited foh
fectly clear and I wanted.
to be perfectly clear about
the situation. how
has indicated that He lied -desived
to witidraw as your, atte ney
to avoid: any appearance:
propriety. Becaiise of the fact].

that Anna Hunter, who had been

in the same firm as Mrs Qu-,-.

who had beén in

as Mr. Quirk and it is'’
happened: to be representing
the ‘aileged:victim inst

cular casé-in Muncie Cit

 

volving--. “In that part

situation, she was represént

 

 

 

 

 

 
the alleged yictim as. a defense. .|>
counsel, State of Indiana;. ap~
parently, versus Mrs. Lasley,
In this particular’ situation;
‘the fact ‘situation: is totally”
different, Mr. Quirk is. ne~
presenting you as your defense
counsel as a Public Befender
in this case. ‘I: see ag confla
in evidence. If there weve.

a situation where Mrs. Hunter

were: attorney for Ms." Lasley.

pees
aE esac
ap apne

filing a,case against you in~

civil matter, ZI can see that.

See

or if Mrs. Hunter Were represefitiri *

co-defendant in thi

different: from yours; I eould~
see a conflicts ‘It is iy preferh
ence at this partigular time,

‘that since this matter isvset

 

 

 

 
 

 

for trial on Decembet the J4th :

and here it. is Décember 3rdy:
that we continue td Have Mr.
Quirk represent you in wis
matter. Do you have: anyvaltde
culty with that, §$

MR. BARNHOUSE: "Ne.

THE COURT: | ALL rig

your desire then that he con
tinue to, represent :! Atl
ight. Thank you. that will -

conelude this.

 

 

 

 
